978 F.2d 745
    298 U.S.App.D.C. 248
    NOTICE: D.C. Circuit Local Rule 11(c) states that unpublished orders, judgments, and explanatory memoranda may not be cited as precedents, but counsel may refer to unpublished dispositions when the binding or preclusive effect of the disposition, rather than its quality as precedent, is relevant.UNITED STATES of Americav.Michael Darnell ROBINSON, Appellant.
    No. 92-3129.
    United States Court of Appeals, District of Columbia Circuit.
    Sept. 16, 1992.
    
      Before SENTELLE and KAREN LeCRAFT HENDERSON, Circuit Judges.
      ORDER
      PER CURIAM.
    
    
      1
      Upon consideration of the motion to withdraw appeal, it is
    
    
      2
      ORDERED that the motion be granted, and the appeal is hereby dismissed.   See D.C. Circuit Handbook of Practice and Internal Procedures 42 (1987).
    
    
      3
      The Clerk is directed to issue forthwith a certified copy of this order to the district court in lieu of formal mandate.
    
    